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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

LAURA WONDERCHECK,                                )
                                                  )
                 Plaintiff,                       )
                                                  )
                     v.                           )
                                                  )      Civil Action No. 1:19-cv-00640-LY
MAXIM HEALTHCARE SERVICES,                        )
INC.,                                             )
                                                  )
                Defendant.                        )

               DEFENDANT MAXIM HEALTHCARE SERVICES, INC.’S
                        DEPOSITION DESIGNATIONS
       Pursuant to Local Rule CV-16(e)(6), Defendant Maxim Healthcare Services, Inc. submits

its Deposition Designations, attached hereto as Exhibit A, should Daniel Murphy or Thomas

Gillespie be unable to testify in-person at trial. Maxim reserves the right to supplement and

amend these designations. Maxim also reserves the right to use deposition testimony designated

by Plaintiff Laura Wondercheck.        Maxim is neither waiving the confidentiality of any

designation herein, nor is Maxim conceding the relevancy of any issue. The designations herein

are submitted subject to any motions in limine.

Dated: November 6, 2020                               Respectfully submitted,

                                                      /s/ Lindsay A. Hedrick
                                                      Lindsay A. Hedrick
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                                                      Attorneys for Defendant Maxim Healthcare
                                                      Services, Inc.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 6, 2020, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system, which will send electronic notice to all counsel of record.

                                                     /s/ Lindsay A. Hedrick
                                                     Lindsay A. Hedrick




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                                 EXHIBIT A

                   Deponent                               Designations

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Thomas Gillespie                       p. 9:20-10:21
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